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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


DEIDRE AGAN,                                     CV 19-83-BLG-SPW-TJC

                    Plaintiff,
                                                 ORDER
vs.

BNSF RAILWAY COMPANY,

                    Defendant.


      A Motion Hearing was held in this matter on May 19, 2021. (Doc. 80.) The

Court heard oral arguments on Defendant BNSF Railway Company’s Motions for

Summary Judgment (Docs. 41, 49), Motion to Strike Late Disclosed Expert

Witnesses and Opinions (Doc. 46), and Motion to Strike Supplement Brief by

Plaintiff (Doc. 74); and Plaintiff Deidre Agan’s Motion to Reopen/Extend

Discovery (Doc. 53).

      Based on the reasons stated on the record during the hearing, IT IS

HEREBY ORDERED as follows:

       1.   BNSF’s Motion to Strike (Doc. 46) is DENIED;

      2.     Agan’s Motion to Reopen Discovery (Doc. 53) is GRANTED for a

period of 90 days for the limited purpose of the disclosure and discovery of new

and ongoing medical care Plaintiff has received since the close of discovery on



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August 28, 2020, as well as any supplementation of non-retained, medical expert

disclosures. On or before August 19, 2021, the parties shall file a joint status

report, advising whether Plaintiff’s medical care and treatment, and discovery

regarding her additional medical care, has been completed;

      3.     BNSF’s Motion to Strike Supplemental Brief (Doc. 74) is DENIED.

      4.     The Court will take BNSF’s motions for summary judgment (Docs.

41, 49) under advisement.

      IT IS ORDERED.

      DATED this 25th day of May, 2021.

                                       _________________________
                                       TIMOTHY J. CAVAN
                                       United States Magistrate Judge




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